Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 1 of 24 Page ID #:240



     Dale K. Galipo, Esq. (SBN 144074)
   1 Melanie T. Partow, Esq. (SBN 254843)
     THE LAW OFFICES OF DALE K. GALIPO
   2 21800 Burbank Blvd., Suite 310
     Woodland Hills, CA 91367
   3 Tel: (818) 347-333
     Fax: (818) 347-4118
   4 dalekgalipo@yahoo.com
     mpartow@galipolaw.com
   5 Attorneys for Plaintiffs
   6 LUIS A. CARRILLO Esq. Bar No. 70398
     Law Offices of Luis A. Carrillo
   7 A Professional Corporation
     1499 Huntington Drive Suite 402
   8 South Pasadena, CA 91030
     P: (626) 799-9375
   9 F: (626) 799-9380
  10 email: lac4justice@gmail.com
  11                         UNITED STATES DISTRICT COURT
  12                        CENTRAL DISTRICT OF CALIFORNIA
  13 ROSA NAVAS, an individual; ALFREDO ) Case No.: 15-cv-9515 SVW (JCx)
     NAVAS, an individual; A.N., a minor,         )
  14 individually and as successor in interest to ) [Honorable Stephen V. Wilson]
                                                  )
  15 Sergio Navas and by and through his          ) NOTICE OF UNOPPOSED EX
     mother and Next Friend Christel Emmet; ) PARTE PETITION AND
  16 J.N., a minor, individually and as successor ) UNOPPOSED EX PARTE PETITION
     in interest to Sergio Navas and by and       )
  17 through his mother and Next Friend           ) FOR ORDER APPROVING THE
                                                  ) COMPROMISE OF CLAIMS BY
  18 Christel Emmet;    A.N., a minor,            ) MINOR PLAINTIFFS A.N., J.N.,
     individually and as successor in interest to ) A.N., A.B., AND R.B.;
  19 Sergio Navas and by and through her          )
                                                  ) MEMORANDUM OF POINTS AND
     mother and Next Friend Christel Emmet, ) AUTHORITIES: DECLARATION
  20                                              ) OF DALE K. GALIPO IN SUPPORT
                                Plaintiffs,       ) AND EXHIBITS; [PROPOSED]
  21                                              )
                                                  ) ORDER
  22                     vs.                      )
                                                  )
  23 CITY OF LOS ANGELES, a municipality; )
     BRIAN VAN GORDON, an individual;             )
  24 and DOES 1 through 10, inclusive,            )
                                                  )
  25                            Defendants.       )
                                                  )
  26
  27
  28
                                                      -1-
         PLAINTIFFS’ NOTICE OF EX PARTE APPLICATION AND EX PARTE APPLICATION FOR ORDER APPROVING MINORS’
                                                    COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 2 of 24 Page ID #:241




   1         TO THIS HONORABLE COURT AND TO ALL PARTIES AND

   2 THEIR ATTORNEYS OF RECORD, PLEASE TAKE NOTIE THAT
   3 Petitioner Christel Emmet (guardian ad litem for the minor plaintiffs A.N., J.N., and
   4 A.N.) and Petitioner Blanca Chevez (guardian ad litem for the minor plaintiffs R.B.
   5 and A.B.), by and through Plaintiffs’ counsel Dale K. Galipo, will and hereby does
   6 petition this Court, ex parte, for an Order approving the settlement of the claims of
   7 the minor plaintiffs A.N., J.N., A.N., R.B., and A.B and the distribution of the
   8 settlement funds.
   9        Petitioners make this application under Federal Rule of Civil Procedure

  10 17(c)(2), Local Rule 83-5.1, Local Rule 83-5.3, and California Code of Civil
  11 Procedure 372. The grounds for this application are set forth in the attached
  12 Memorandum of Points and Authorities and Declaration of Dale K. Galipo.
  13     Prior to filing this ex parte application, Plaintiffs’ counsel contacted defense

  14 counsel in compliance with Local Rule 7-19 through 7-19.1. Defense counsel are:
  15                                     Cory Brente
                                        Colleen Smith
  16                             200 N. Main St., 6th Floor
  17                               Los Angeles, CA 90012
                                   Phone: (213) 978-7021
  18                                Fax: (213) 978-8785
  19                           Email: cory.brente@lacity.org
                              Email: colleen.smith@lacity.org
  20
  21       Defense counsel stated that they do not oppose the filing of this petition. See
  22 Declaration of Dale K. Galipo in Support of Unopposed Ex Parte Application for
  23 Approval of Minor’s Compromise (“Galipo Decl.”) at ¶ 2.
  24         The reason for seeking approval of the minors’ compromise on an ex parte
  25 basis is to ensure that the rates currently locked in for the annuity structured
  26 payment schedules by the life insurance companies, which were vetted and selected
  27 for each minor plaintiff by their guardians ad litem, do not expire. Id.
  28
                                                        -2-                            CV12-01382 SJO(JEMx)
         PLAINTIFFS’ NOTICE OF EX PARTE APPLICATION AND EX PARTE APPLICATION FOR ORDER APPROVING MINORS’
                                                    COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 3 of 24 Page ID #:242




   1 Respectfully submitted,
     DATED: April 17, 2017                     LAW OFFICES OF DALE K. GALIPO
   2                                           LAW OFFICES OF LUIS A. CARRILLO
   3
   4                                            By:       s/ Melanie T. Partow
                                                  Dale K. Galipo
   5                                              Luis A. Carrillo
                                                  Melanie T. Partow
   6                                              Attorneys for Plaintiffs
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                        -3-                            CV12-01382 SJO(JEMx)
         PLAINTIFFS’ NOTICE OF EX PARTE APPLICATION AND EX PARTE APPLICATION FOR ORDER APPROVING MINORS’
                                                    COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 4 of 24 Page ID #:243




1               PETITION FOR APPROVAL OF MINORS’ COMPROMISE
2
                  MEMORANDUM OF POINTS AND AUTHORITIES
3
     I.    INTRODUCTION
4
           Christel Emmet, guardian ad litem for minor plaintiffs A.N., J.N., and A.N., and
5
     Blanca Chevez, guardian ad litem for minor plaintiffs R.B. and A.B., hereby submit a
6
     proposed order for approval of the minors’ compromises in this matter, and request that
7
     the Court approve the proposed distributions of the minors’ funds.
8
           The instant claims of minor plaintiffs A.N., J.N., A.N., and R.B., and A.B. arose
9
     out of the shooting-death of Sergio Navas by City of Los Angeles Police Officer Brian
10
     Van Gordon on March 5, 2015. Galipo Decl. at ¶ 3. The plaintiffs are Sergio Navas’
11
     parents (Rosa Navas and Alfredo Navas) and Sergio Navas’ five minor children, A.N.,
12

13
     J.N., A.N., R.B. and A.B.

14
           The parties agreed to settle the case. The agreement obligates Defendants to pay

15
     to the plaintiffs and their attorneys of record the total sum of $2,500,000.00. Id. at ¶ 5.

16   Plaintiffs (including the guardian ad litem for the minor plaintiffs) have agreed, among
17   themselves, that the 2,500,000 gross settlement proceeds are to be distributed as
18   follows:
           Alfredo Navas                                               $250,000
19
           Rosa Navas                                                  $250,000
20         A.N.                                                        $400,000
21
           J.N.                                                        $400,000
           A.N.                                                        $400,000
22         R.B.                                                        $400,000
23         A.B.                                                        $400,000
24   Galipo Decl. at ¶ 5.
25
     ///
26
     ///
27
     ///
28


                                                   -4-
                                     PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 5 of 24 Page ID #:244




1          Local Rule 83-5.1 provides that “[i]nsofar as practicable, hearings on
2    petitions to settle, compromise or dismiss a claim in an action involving a minor or
3    incompetent person shall conform to California Code of Civil Procedure Section
4    372 and California Rule of Court 3.1384.” These code sections refer to the
5    requirement of court approval and incorporate other rules requiring disclosure of
6
     various pertinent facts. California Rule of Court 3.1384 provides that “[a] petition for
7
     court approval of a compromise or covenant not to sue under Code of Civil Procedure
8
     section 372 must comply with rules 7.950, 7.951, and 7.952.” Petitioners hereby
9
     provide and disclose the required information in this memorandum and the attached
10
     Declaration of Dale K. Galipo.
11
     II. DISCUSSION
12
           A. Procedural Framework
13
           District courts have a special duty, derived from Federal Rule of Civil Procedure
14
     17(c), to safeguard the interests of litigants who are minors. Rule 17(c) provides, in
15
     relevant part, that a district court “must appoint a guardian ad litem—or issue another
16
     appropriate order—to protect a minor or incompetent person who is unrepresented in an
17

18
     action.” FED. R. CIV. P. 17(c). In general, all transactions involving the claims of

19
     minors and their proceeds are subject to court approval.

20         The Local Rules provide the applicable procedural framework. Local Rule 17-
21   1.2 provides that no claim involving a minor “shall be settled, compromised, or
22   dismissed without leave of the Court embodied in an order, judgment, or decree.” Local
23   Rule 17-1.3 provides that “[i]nsofar as practicable, hearings on petitions to settle,
24   compromise or dismiss a claim in an action involving a minor or incompetent person
25   shall conform to California Code of Civil Procedure Section 372 and California Rule of
26   Court 3.1384.” These code sections refer to the requirement of court approval and
27   incorporate other rules requiring disclosure of various pertinent facts. California Rule
28   of Court 3.1384 provides that “[a] petition for court approval of a compromise or

                                                   -5-
                                     PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 6 of 24 Page ID #:245




1    covenant not to sue under Code of Civil Procedure section 372 must comply with rules
2    7.950, 7.951, and 7.952.” Finally, Local Rule 17-1.5 provides that in call cases
3    involving the claims of minors, “the Court shall fix the amount of attorney’s fees.”
4          Because A.N. (1), J.N., A.N. (2), R.B., and A.B. are minors, they and their
5    guardian ad litems propose to use their portions of the award to individually purchase
6
     an annuity for each minor which will distribute the money over time with interest, with
7
     guaranteed payments.
8
           Accordingly, pursuant to the above Local Rules, Movants and plaintiffs’
9
     attorneys make the following disclosures and request that the Court approve the
10
     following transactions.
11
           B.     Disclosures pursuant to California Rule of Court 7.950
12
     (1)   Petitioners are Christal Emmet (for minor plaintiffs A.N., J.N., and A.N. and
13
     Blanca Chevez (for minor plaintiffs R.B. and A.B.). Petitioners are the court-
14
     appointed guardian ad litem for the four minor Plaintiffs.
15
     (2)   The claimants are the five minor plaintiffs A.N., J.N., A.N., R.B., and A.B.
16
     (3)   The ages and gender of each claimant is as follows:
17

18
           Minor Plaintiff A.N.(1) is a 17-year-old male born on October 30, 1999 to

19
     Christel Emmet and decedent Sergio Navas.

20         Minor Plaintiff J.N. is a 13-year-old male born on August 19, 2003 to Christel
21   Emmet and decedent Sergio Navas.
22         Minor Plaintiff A.N. (2) is a 12-year-old female born on June 15, 2004 to
23   Christel Emmet and decedent Sergio Navas.
24         Minor Plaintiff R.B. is a three-year-old female born January 16, 2014 to Blanca
25   Chevez and decedent Sergio Navas.
26         Minor Plaintiff A.B. is a three-year-old male born January 16, 2014 to Blanca
27   Chevez and decedent Sergio Navas.
28   Galipo Decl. at ¶ 4.

                                                  -6-
                                    PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 7 of 24 Page ID #:246




1
     (4)    The nature of the plaintiffs’ claims are set forth in the operative complaint filed
2
     in this action.
3
     (5)    The damages for the claimants arise from their individual losses of their father’s
4
     comfort, care, companionship, training, support, and guidance, as well as survival
5
     damages for the decedent’s own loss of life, loss of enjoyment of life and physical pre-
6
     death pain and suffering. Id. at ¶ 3.
7
     (6)    The claimants have not received medical treatment in connection with this case.
8
     Id.
9
     (7)    Medical billing is not relevant. Id.
10
     (8)    The gross amount of the settlement that Defendants agree to pay is $2,500,000.
11
     Of the $2,500,000 gross settlement amount, Plaintiffs and Petitioners agree to distribute
12

13
     $400,000 to each minor, for a gross total of $2,000,000 of the $2,500,000 being

14
     distributed to the minor plaintiffs.1 Plaintiffs’ counsel, The Law Offices of Dale K.

15
     Galipo and The Law Offices of Luis A. Carrillo, are requesting attorneys’ fees of 40

16   percent of the $2,000,000 in gross settlement proceeds that Plaintiffs and Petitioners
17   agree to distribute to the minor plaintiffs, or $800,000. Galipo Decl. at ¶¶ 8-12, 18. The
18   contingency retainer agreement between Plaintiffs and their attorneys provide for a 40
19   percent contingency fee and Section 1988 fees. Id. at ¶ 18.
20          Plaintiffs’ attorneys also seek reimbursement for litigation costs of $4,335. Id. at
21   ¶ 6. Of the total litigation costs, $600 was incurred by the minor plaintiffs R.B. and
22   A.B. only and concern DNA testing. Plaintiffs and Petitioners agreed among
23   themselves that the remaining $3,735 in litigation costs would be split six ways,
24   resulting in the payment of $622.50 in costs by A.N., $622.50 in costs by J.N., $622.50
25   in costs by A.N., $922.50 in costs by R.B. (one-sixth of the costs incurred by all
26

27
     1
      Of the $500,000 gross remaining settlement funds, Plaintiffs and Petitioners agree to
     distribute $250,000 to the Rosa Navas, the decedent’s mother and $250,000 to Alfredo
28
     Navas, the decedent’s father.
                                                   -7-
                                     PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 8 of 24 Page ID #:247




1
     plaintiffs plus $300 for half of the DNA testing costs), $922.50 in costs by A.B. (one-
2
     sixth of the costs incurred by all plaintiffs plus $300 for half of the DNA testing costs),
3
     and the final one-sixth of the costs by the parent plaintiffs ($311.25 in costs by Alfredo
4
     Navas and $311.25 by Rosa Navas). Id.
5
               Plaintiffs’ attorneys also seek reimbursement for several money advances made
6
     to Petitioner Christel Emmet for assistance with necessary living expenses for A.N.,
7
     J.N., and A.N. during the two year course of this litigation in the amount of $23,400. Id.
8
     at ¶ 7.
9
               The contingency fee, litigation costs and advances are the amounts that the Law
10
     Offices of Dale K. Galipo and the Law Offices of Luis A. Carrillo would be due under
11
     the existing retainer agreements. Id. at ¶¶ 10-12, 18. This case involved a substantial
12

13
     amount of risk. Id. at ¶ 19. If Plaintiffs had prevailed at trial and a likely appeal,

14
     statutory attorneys’ fees due to Law Offices of Dale K. Galipo and the Law Offices of

15
     Luis A. Carrillo under the retainer agreements likely would exceed $1,500,000.00. Id.

16   If Law Offices of Dale K. Galipo were not awarded a fully compensatory fee in such
17   cases, it would not be able to take them. Id. In turn, minor plaintiffs such as A.N., J.N.,
18   A.N., R.B., and A.B. would not be able to attract competent counsel who could achieve
19   similar results. Id.
20   (9)       In summary, the gross amount of the settlement of A.N.(1)’s claims is $400,000.
21   After deducting the agreed upon contingency attorney fees, litigation costs, and
22   reimbursement for monies advanced for the minor plaintiff’s necessary daily needs
23   during the course of the litigation, the total net settlement due to A.N.(1) is $231,577.5.
24   A.N.(1) will reach age 18 in 2017. It is proposed that $41,577.50 be placed in a
25   blocked account and that $190,516.00 be used to fund a guaranteed structured
26   settlement annuity that will make scheduled payments directly to A.N.(1). Attached
27
     hereto as “Exhibit A” to this Petition, is a proposed structured settlement annuity,
28
     which is incorporated herein in its entirety by reference. Id. at ¶ 8. A.N.(1) and his
                                                     -8-
                                       PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 9 of 24 Page ID #:248




1
     guardian ad litem agree to this proposal and believe that it is in the best interests of
2
     A.N. The net payout to A.N.(1) will be $253,235.76.
3
           The gross amount of the settlement of J.N.’s claims is $400,000. After deducting
4
     agreed attorneys’ fees, litigation costs, and reimbursement for monies advanced for the
5
     minor plaintiff’s necessary daily needs, the total net settlement due to J.N.(1) is
6
     $231,577.5. It is proposed that $231,577.5 be used to fund a guaranteed structured
7
     settlement annuity. Attached hereto as “Exhibit B” to this Petition, is a proposed
8
     structured settlement annuity, which is incorporated herein in its entirety by reference.
9
     Id. at ¶ 9. A.N.’s guardian ad litem agrees to this proposal and believes that it is in the
10
     best interests of her son. The net payout to J.N. will be $289,427.
11
           The gross amount of the settlement of A.N.(2)’s claims is $400,000. After
12

13
     deducting agreed attorneys’ fees, litigation costs, and reimbursement for monies

14
     advanced for the minor plaintiff’s necessary daily needs, the total net settlement due to

15
     A.N.(1) is $231,577.5. A.N.(2) requires the creation of a Special Needs Trust. It is

16   proposed that a payment of $31,577.50 be used to create and fund the special needs
17   trust and that $200,000 be used to fund a guaranteed structured settlement annuity.
18   Attached hereto as “Exhibit C” to this Petition, is a proposed structured settlement
19   annuity, which is incorporated herein in its entirety by reference. Id at ¶ 7. A.N.(2)’s
20   guardian ad litem agrees to this proposal and believes that it is in the best interests of
21   her daughter. The net payout to A.N.(2) is $253,639.90.
22         The gross amount of the settlement of A.B.’s claims is $400,000. After
23   deducting agreed attorneys’ fees and litigation costs, the total net settlement due to R.B.
24   is $239,077.5. It is proposed that a payment of $239,0775 be used to create and fund a
25   guaranteed structured settlement annuity. Attached hereto as “Exhibit D” to this
26   Petition, is a proposed structured settlement annuity, which is incorporated herein in its
27
     entirety by reference. Id. at ¶ 11. A.B.’s guardian ad litem agrees to this proposal and
28
     believes that it is in the best interests of her son. The net payout to A.B. is $416,000.
                                                   -9-
                                     PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 10 of 24 Page ID #:249




 1
           The gross amount of the settlement of R.B.’s claims is $400,000. After
 2
     deducting agreed attorneys’ fees and litigation costs, the total net settlement due to R.B.
 3
     is $239,077.5. It is proposed that a payment of $239,0775 be used to create and fund a
 4
     guaranteed structured settlement annuity. Attached hereto as “Exhibit E” to this
 5
     Petition, is a proposed structured settlement annuity, which is incorporated herein in its
 6
     entirety by reference. Id. at ¶ 12. R.B.’s guardian ad litem agrees to this proposal and
 7
     believes that it is in the best interests of her daughter. The net payout to R.B. is
 8
     $416,000.
 9
     (10) The Petitioners and guardians ad litems have no claims against the defendants or
10
     the minor plaintiffs in connection with the subject incident. See consent, below.
11
     (11) California Welfare and Institutions Code Section 14124.73 does not apply.
12

13
     (12) This motion seeks an order for payment of money to a special needs trust for

14
     minor plaintiff, A.N.(2).

15
           C.     Disclosures pursuant to California Rule of Court 7.951.

16         (1) This petition was prepared by attorney Melanie T. Partow (California Bar
17   Number 254843), of the Law Offices of Dale K. Galipo, located at 21800
18   Burbank Boulevard, Suite 310, Woodland Hills, California, representing the minor
19   plaintiffs. Galipo Decl. at ¶ 13.
20         (2) The Law Offices of Dale K. Galipo and The Law Offices of Luis A. Carrillo
21   did not become concerned with this matter at the instance of any party against whom
22   the claim of said minor is asserted. Id. at ¶ 14.
23         (3) The Law Offices of Dale K. Galipo The Law Offices of Luis A. Carrillo
24   represents the plaintiffs in this matter but is not employed by any other party or any
25   insurance carrier involved in the matter. Id. at ¶ 15.
26         (4) The Law Offices of Dale K. Galipo and The Law Offices of Luis A. Carrillo
27
     have not received any compensation for their services in connection herewith from any
28
     person. Id. at ¶ 16.
                                                   - 10 -
                                     PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 11 of 24 Page ID #:250




 1
           (5) The Law Offices of Dale K. Galipo and The Law Offices of Luis A. Carrillo
 2
     do not expect to receive any additional compensation for their services in connection
 3
     with this case other than the contingency fees set forth herein and agreed to by the adult
 4
     plaintiffs and the guardians ad litem for the five minor plaintiffs. Id. at ¶ 17.
 5
           (6) The Law Offices of Dale K. Galipo and The Law Offices of Luis A. Carrillo
 6
     accepted this engagement for a contingency fee, plus reimbursement for any costs
 7
     advanced. Id. at ¶ 18. The retainer agreements provide for a 40 percent attorney fee if
 8
     the matter concludes after commencement of a lawsuit, and for recovery of Section
 9
     1988 fees. Id.
10
           D.     Movants’ Endorsements
11
           Petitioners have made a careful and diligent inquiry and investigation to ascertain
12

13
     the facts relating to the incident giving rise to the minors’ claims, the parties

14
     responsible for the incident, and the nature, extent and seriousness of the minors’

15
     injuries. Petitioners further understand the transactions proposed in this Petition and

16   request that the Court approve them.
17         Petitioners recommend the transaction and the proposed distributions to the
18   minors as being fair, reasonable, and in the best interest of the minors, and request that
19   the Court approve this Petition and make such other and further orders as may be just
20   and reasonable.
21                1.     Request by Petitioner Christel Emmet for Minor A.N. (1)
22         For A.N. (1) who will turn 18 on October 30, 2017, Petitioner Christel Emmet
23   specifically requests that the Court enter an order approving the proposed annuity
24   described in “Exhibit A”. In this proposal, Petitioner requests a lump sum to be placed
25   in a blocked account accessible to A.N. upon his 18th birthday. Thereafter, annuity
26   payments will be made directly to A.N. beginning at age 19 on a monthly basis for 8
27
     years. A.N. will receive a lump sum payment in 2024. See Galipo Decl. at ¶ 8; Exhibit
28
     A.
                                                   - 11 -
                                     PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 12 of 24 Page ID #:251




 1
                  2.      Request by Petitioner Christel Emmet for Minor J.N.
 2
           For J.N., Petitioner Christel Emmet specifically requests that the Court enter an
 3
     order approving the proposed annuity described in “Exhibit B”. In this proposal, the
 4
     annuity will make modest monthly payments directly to J.N. beginning at age 18 and
 5
     variable lump sum payments until the year 2030. See Galipo Decl. at ¶ 9; Exhibit B.
 6
                  3.      Request by Petitioner Christel Emmet for Minor A.N.(2)
 7
           For A.N.(2), Petitioner specifically requests that the Court enter an order
 8
     approving the proposed annuity described in “Exhibit C”. In this proposal, a lump sum
 9
     payment will seed a Pooled Special Needs Trust under 42 U.S.C. §1396p(d)(4)(C) with
10
     CPT as Trustee per CA Probate Code §§3602, 3604(b), and 3611.Special Needs Trust.
11
     The remainder will find an annuity. The annuity will make guaranteed monthly
12

13
     payments to the special needs trust for 30 years. See Galipo Decl. at ¶ 9; Exhibit C.

14
           A 42 U.S.C. §1396p(d)(4)(C) “Pooled” special needs trust is a trust created and

15
     managed by a nonprofit organization. A separate account is maintained for each

16   beneficiary of the trust. Each account can be invested and managed separately to meet
17   the objectives of the beneficiary. The account is created for the sole benefit of an
18   individual with disability by the individual’s parent, grandparent, legal guardian, court,
19   or the individual.
20         The Pooled Special Needs Trust was established and is managed by CPT, a
21   national 501(C)(3) not-for-profit and first party Special Needs Trust provider. The trust
22   has provided trust services to over six hundred clients in California and has tens of
23   millions under administration and all accounts are bondable.
24         Petitioner Christel Emmet, the mother and guardian ad litem of beneficiary
25   A.N.(2), and Susan Lindsey, the grandmother and legal guardian of A.N.(2) shall serve
26   as equal beneficiaries (50%/50%). Susan Lindsey shall be the Beneficiary Advocate.
27
     All distributions requested by the Beneficiary Advocate are reviewed by the Trustee
28
     (CPT) for appropriateness and compliance with public benefit laws.
                                                   - 12 -
                                     PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 13 of 24 Page ID #:252




 1
           Pursuant to Probate Code §2643, the petitioner requests that that the Court
 2
     authorize the Trustee to receive a one time initial $4,000 trust set up fee total, and
 3
     annual payments on account at the rate of 2% of the funds in the individual account,
 4
     with $4,000 annual minimum, without further order.
 5
           Pursuant to Probate Code §2643, if bond and accountings are waived, the Trustee
 6
     will receive a one-time initial $3,000 trust set up fee total, and annual payments on
 7
     account at the rate of 1% of the funds in the individual account, with $2,000 annual
 8
     minimum, without further order.
 9
           Payment is reasonable in this particular case because the cost of administrative
10
     services for the pooled special need trust account and trustee are inclusive. The costs
11
     are a fraction of those associated with a corporate trustee, professional conservator or
12

13
     traditional Trustee. Therefore, the fees for the pooled special needs trust are a great

14
     value to the beneficiary.

15
           The names, addresses and relationships of all persons entitled to notice are as

16   follows:
           A.N.(2)
17
           12336 Foxcroft Place
18         Granada Hills, CA 91344
19
           Christel Emmet
20         12336 Foxcroft Place
21
           Granada Hills, CA 91344

22         CPT
23         1 Civic Center Drive – Suite 310
           San Marcos, CA 92069
24

25         Department of Health Services, Remainder Beneficiary
           MS 4720, P.O. Box 997425, Sacramento, CA 95899-7425
26

27         Department of Mental Health, Remainder Beneficiary
28
           1600 9th Street, Sacramento, CA 95814

                                                   - 13 -
                                     PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 14 of 24 Page ID #:253




 1

 2
           Department of Developmental Disabilities, Remainder Beneficiary
           1600 9th Street, Sacramento, CA 95814
 3
                  4.     Request by Petitioner Blanca Chevez for Twin Minors A.B. and R.B.
 4
           Petitioner specifically requests that the Court enter an order approving the
 5
     proposed annuities described in “Exhibits D and E.” In these identical proposals,
 6
     Petitioner requests modest monthly disbursements to assist with raising her three year-
 7
     old twin son and daughter between now and the time they are 18 years old. Petitioner is
 8
     a responsible adult who works full time as a teacher. While she is doing the best she
 9
     can to raise toddler twins A.B. and R.B., as a working single mother of young twins,
10
     her finances are currently strained, and she struggles to scrape together the funds
11
     necessary for child care, basic daily needs, financial support to sustain their own
12

13
     residence (they currently reside with Petitioner’s brother in his home), and the

14
     educational and extracurricular opportunities to develop and nurture A.B. and R.B.’s

15   talents and interests.

16         Petitioner requests a one-time lump sum payment of $7,500 per minor to be
17   payable on July 15, 2017, to cover the expenses of first and last month’s rent and a
18   security deposit so that she and the twin minors A.B. and R.B. may move into and
19   establish their own residence and purchase beds, dressers and other furniture for A.B.
20   and R.B. Petitioner has not requested or received any advances or monies of any kind,
21   from attorneys or otherwise, against this settlement for A.B. or R.B.
22         Petitioner further requests the sum of $375 per minor, per month, for the next
23   four and a half years, and thereafter, $450 per minor, per month, until the twins reach
24   age 18. These modest monthly payments are requested to help pay for preschool
25   tuition, tutoring, sports, art, music, and test preparation courses. Petitioner submits that
26   because A.B. and R.B.’s father is deceased and no longer able to provide childcare,
27
     guidance, or child support, it is in A.B. and R.B.’s best interest that a small fraction of
28


                                                   - 14 -
                                     PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 15 of 24 Page ID #:254




 1
     the funds that were awarded in connection with their father’s death be used to help raise
 2
     them. Petitioner further submits that these disbursements are reasonable and in the
 3
     twins’ best interest, and do not meaningfully diminish the very significant funds that
 4
     will become available to A.B. and R.B. once they reach majority.
 5
            Petitioner further requests approval of the annuities described in Exhibits D and
 6
     E, which propose that, the twins A.B. and R.B. will each receive guaranteed payments
 7
     of $25,000 annually for four years (intended to assist with college tuition) beginning
 8
     when the twins reach majority in 2032. The proposed annuities further guarantee
 9
     monthly payments of $800 for three years beginning at age 22, followed by lump sum
10
     payments at ages 26, 30 and 35 for a total payout of $416,000 for each minor A.B. and
11
     R.B.
12
            E. Attorneys’ Fees and Minor Plaintiffs
13
            Local Rule 17-1.5 provides that in call cases involving the claims of minors, “the
14
     Court shall fix the amount of attorney’s fees.” See also Local Rule 83-5.3 (identical rule
15
     effective June 1, 2012, superseded by current rule). The attorneys’ fees that are
16
     requested to be approved represent the amounts that the Law Offices of Dale K. Galipo
17
     and Law Offices of Luis A. Carrillo would be due under the existing retainer and fee-
18
     splitting agreements. Galipo Decl. at ¶ 18. These are also the amounts that an adult
19

20
     plaintiff would pay for the same legal services, and Plaintiff’s attorneys submit that the

21
     result should be no different because their client is a minor.

22          In Robidoux v. Rosengren, 638 F.3d 1177, 1182 (9th Cir. 2011), the district court
23   rejected a proposed settlement under conditions where 56 percent of the total settlement
24   value was allocated to attorney’s fees. The Ninth Circuit reversed on the grounds that
25   “the district court’s special duty to protect minor plaintiffs requires only that the district
26   court consider whether the net recovery of each minor plaintiff is fair and reasonable,
27   without regard to the amount received by adult co-plaintiffs and what they have agreed
28   to pay plaintiffs’ counsel.” The Ninth Circuit remanded for consideration of whether

                                                    - 15 -
                                      PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 16 of 24 Page ID #:255




 1   the minors’ recoveries were fair and reasonable, without regard to the amount of
 2   attorneys’ fees. This holding suggests that 56 percent of the total recovery being
 3   allocated to attorneys’ fees is not per se disallowed. See also Nephew v. Santa Rosa
 4   Mem’l Hosp., No. 15-CV-01684-JSC, 2015 WL 5935337, at *3 (N.D. Cal. Oct. 13,
 5   2015) (“requested 33% attorneys’ fee award is reasonable in light of the signed
 6
     contingency agreement”); Caldwell v. Boeing Co., No. 14CV2636-BEN KSC, 2015
 7
     WL 4199986, at *2 (S.D. Cal. July 9, 2015) (“Under Robidoux, the Court is not
 8
     required to conduct an inquiry into the reasonableness of attorneys’ fees); Gill v.
 9
     Macy’s Corp. Servs., No. 1:12-CV-01985-AWI, 2013 WL 4478898, at *2 (E.D. Cal.
10
     Aug. 19, 2013) (approving a similar transaction that involved paying one portion of the
11
     total recovery to finance an annuity for the minor plaintiff, the remainder to plaintiff’s
12
     attorneys); Reyes v. City of Pinole, No. C 12-2636 LB, 2013 WL 3157902, at *2 (N.D.
13
     Cal. June 20, 2013) (approving a settlement, “half of which is allocated for attorneys’
14
     fees”); McCue v. S. Fork Union Sch. Dist., No. 1:10-CV-00233-LJO, 2012 WL
15
     2995666, at *7 (E.D. Cal. July 23, 2012) (a contingency fee of 40 percent might be
16
     justified); Arriaga v. Target Corp., No. CIV. S-10-1167 LKK, 2012 WL 1720503, at *1
17

18
     (E.D. Cal. May 15, 2012) (settlement of $275,000, with distribution of $109,519.97 to

19
     minor and $165,480.03 to attorneys).

20         The minors’ claims in this case involved a substantial amount of risk and were
21   vigorously litigated. Id. at ¶ 19. Plaintiffs’ attorneys put a tremendous number of hours
22   into the case over the past two years and attended multiple settlement conferences,
23   resulting in a favorable result for the minor plaintiffs. Id. at ¶ 19. As a result, the
24   minors will enjoy payments of over $1,628,301 million spread throughout their lives.
25         If the minor plaintiffs’ attorneys were not awarded a fully compensatory fee in
26   such cases, similarly experienced, skilled, and reputable attorneys would be
27   discouraged from taking them. Specifically, it would provide a disincentive for skilled
28   attorneys to take cases involving minor plaintiffs, which if anything, require a higher

                                                    - 16 -
                                      PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 17 of 24 Page ID #:256




 1   level of legal expertise and experience than cases involving adult plaintiffs. Civil rights
 2   cases are difficult enough for attorneys to take and win, without the additional
 3   disincentive of an arbitrarily-reduced fee at the end. In sum, a reduction of the full
 4   contractual fee would inhibit the provision of high quality of legal services to civil
 5   rights victims who are minors and plaintiffs such as the minors in this case would not
 6
     be able to attract competent counsel who could achieve similar results. Id.
 7
     Accordingly, Plaintiffs’ attorneys in this case request the approval of the full amount of
 8
     their attorneys' fees and costs without reduction, as agreed by the Petitioners.
 9
           III. CONCLUSION
10
           For the reasons above, the Court should approve the proposed settlement of
11
     The minors’ claims and enter the proposed disbursement orders submitted concurrently
12
     herewith.
13
     Respectfully submitted,
14
     Dated: April 17, 2017                           LAW OFFICES OF DALE K. GALIPO
15
                                                     LAW OFFICES OF LUIS A. CARRILLO
16

17

18                                                   _________________________________
19
                                                     Dale K. Galipo
                                                     Luis A. Carrillo
20                                                   Melanie T. Partow
21                                                   Attorneys for Plaintiffs
22

23

24

25

26

27

28


                                                   - 17 -
                                     PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 18 of 24 Page ID #:257




 1                          DECLARATION OF DALE K. GALIPO
 2          I, Dale K. Galipo, hereby declare as follows:
 3   1.     I am an attorney licensed to practice law in this United States District Court. I
 4   am one of the attorneys of record for plaintiffs A.N.(1), J.N., A.N.(2), R.B. and A.B.
 5   and their guardians ad litem in this action. I have personal knowledge of the matters
 6
     stated herein and would and could testify competently thereto if called. I make this
 7
     declaration in support of the above motion.
 8
     2.     Prior to the filing of this ex parte application, Plaintiffs’ counsel contacted
 9
     defense counsel in compliance with Local Rule 7-19 through 7-19.1. Defense counsel
10
     are:
11
                                            Cory Brente
12                                         Colleen Smith
13                                  200 N. Main St., 6th Floor
                                     Los Angeles, CA 90012
14
                                     Phone: (213) 978-7021
15                                     Fax: (213) 978-8785
                                   Email: cory.brente@lacity.org
16
                                  Email: colleen.smith@lacity.org
17

18          I am informed and thereon believe that defense counsel do not oppose the filing
19   of this application on an ex parte basis. The reason for seeking approval of the minors’
20   compromise on an ex parte basis is to ensure that the rates currently locked in by the
21   life insurance companies for the annuity structured payment schedules, which have
22
     been vetted and selected for each minor plaintiff by their guardians ad litem, do not
23
     expire.
24
     3.     Plaintiffs’ damages in this case arise from (1) the injuries suffered by their father,
25
     for which they can recover damages as their father’s successors in interest, and (2) their
26
     individual losses of their father’s comfort, care, companionship, training, support, and
27

28


                                                   - 18 -
                                     PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 19 of 24 Page ID #:258




 1   guidance. The minor plaintiffs have not received medical treatment in connection with
 2   this case and medical billing is not relevant.
 3   4.    Petitioners are Christel Emmet (for minor plaintiffs A.N., J.N., and A.N. and
 4   Blanca Chevez (for minor plaintiffs R.B. and A.B.). Petitioners are the court-
 5   appointed guardian ad litem for the four minor Plaintiffs. The claimants are the five
 6
     minor plaintiffs A.N., J.N., A.N., R.B., and A.B. The ages and gender of each claimant
 7
     is as follows: minor plaintiff A.N.(1) is a 17-year-old male born on October 30, 1999 to
 8
     Christel Emmet and decedent Sergio Navas; minor plaintiff J.N. is a 13-year-old male
 9
     born on August 19, 2003 to Christel Emmet and decedent Sergio Navas; minor plaintiff
10
     A.N. (2) is a 12-year-old female born on June 15, 2004 to Christel Emmet and decedent
11
     Sergio Navas; minor plaintiff R.B. is a three-year-old female born January 16, 2014 to
12
     Blanca Chevez and decedent Sergio Navas; minor plaintiff A.B. is a three-year-old
13
     male born January 16, 2014 to Blanca Chevez and decedent Sergio Navas.
14
     5.    The gross amount of the settlement in this case of the claims for all seven
15
     plaintiffs is $2,500,000. The plaintiffs agreed among themselves to distribute the
16
     settlement proceeds as follows:
17

18
           Alfredo Navas                                               $250,000
           Rosa Navas                                                  $250,000
19         A.N.                                                        $400,000
20         J.N.                                                        $400,000
           A.N.                                                        $400,000
21         R.B.                                                        $400,000
22         A.B.                                                        $400,000
23
     6.    Attorneys in this case incurred total litigation costs in the amount of $4,335. Of
24
     the total litigation costs, $600 in costs are attributable to the minor plaintiffs A.B. and
25

26
     R.B. only for DNA testing. The seven plaintiffs agreed among themselves to split the

27
     remaining $3,735 in litigation costs six ways, with the parents of the decedent sharing

28   one-sixth of the costs and the minor plaintiffs to each bear 1/6th of the costs. This

                                                   - 19 -
                                     PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 20 of 24 Page ID #:259




 1   agreement resulted in the apportionment of the total litigation costs among the seven
 2   plaintiffs as follows:
 3         Alfredo Navas                             $311.25
 4         Rosa Navas                                $311.25
           A.N.                                      $622.50
 5         J.N.                                      $622.50
 6         A.N.                                      $622.50
           A.B.                                      $922.50
 7
           R.B.                                      $922.50
 8

 9   7.    Periodic cash disbursements totaling $23,400 over two years was advanced to
10   Petitioner Christel Emmet for expenses relating to housing, food and clothing and
11   necessary daily expenses for the custody and care of minor plaintiffs A.N., J.N., and
12   A.N. Petitioner Christel Emmet, as guardian ad litem for the minor plaintiffs A.N.,
13   J.N., and A.N., agreed that $23,400 would be reimbursed to attorneys from A.N., J.N.,
14
     and A.N.’s settlement proceeds.
15
     8.    The gross amount of A.N.(1)’s settlement proceeds is $400,000. A.N.(1) will
16
     become of age in October, 2017. Of this gross amount, $41,061.50 is proposed to go
17
     into a blocked account. $190,516 is proposed to be used to fund a structured annuity
18
     for A.N.(1), with the proceeds to be distributed to him over time, as is set forth in
19
     Exhibit A hereto. The difference is proposed to be distributed to his attorneys, Law
20
     Offices of Dale K. Galipo and Law Offices of Luis A. Carrillo pursuant to the
21
     contingency retainer agreement between plaintiffs and their attorneys, which provides
22
     for a 40 percent contingency, Section 1988 fees and reimbursement for litigation costs
23
     and any monies advanced against the settlement.
24
     9.    The gross amount of J.N.’s settlement proceeds is $400,000. Of this gross
25

26
     amount, $231,577.50 is proposed to be used to fund a structured annuity for J.N., with

27
     the proceeds to be distributed to him over time, as is set forth in Exhibit B hereto. The

28   difference is proposed to be distributed to his attorneys, Law Offices of Dale K. Galipo

                                                   - 20 -
                                     PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 21 of 24 Page ID #:260




 1   and Law Offices of Luis A. Carrillo pursuant to the contingency retainer agreement
 2   between plaintiffs and their attorneys, which provides for a 40 percent contingency,
 3   Section 1988 fees and reimbursement for litigation costs and any monies advanced
 4   against the settlement.
 5   10.   The gross amount of A.N.(2)’s settlement proceeds is $400,000. Of this gross
 6
     amount, $31,577.50 is proposed to be used as a seed cash payment to fund a Special
 7
     Needs Trust. $200,000 is proposed to be used to fund a structured annuity for A.N.(2),
 8
     with the proceeds to be distributed to the Special Needs Trust over time, as is set forth
 9
     in Exhibit C hereto. The difference is proposed to be distributed to his attorneys, Law
10
     Offices of Dale K. Galipo and Law Offices of Luis A. Carrillo pursuant to the
11
     contingency retainer agreement between plaintiffs and their attorneys, which provides
12
     for a 40 percent contingency, Section 1988 fees and reimbursement for litigation costs
13
     and any monies advanced against the settlement.
14
     11.   The gross amount of A.B.’s settlement proceeds is $400,000. Of this gross
15
     amount, $239,077.50 is proposed to be used to fund a structured annuity for A.B., with
16
     the proceeds to be distributed over time – first to Petitioner Blanca Chevez on A.B.’s
17

18
     behalf until A.B. is of age and thereafter to A.B. directly, as is set forth in Exhibit D

19
     hereto. The difference is proposed to be distributed to his attorneys, Law Offices of

20   Dale K. Galipo and Law Offices of Luis A. Carrillo pursuant to the contingency
21   retainer agreement between plaintiffs and their attorneys, which provides for a 40
22   percent contingency, Section 1988 fees and reimbursement for litigation costs.
23   12.    The gross amount of R.B.’s settlement proceeds is $400,000. Of this gross
24   amount, $239,077.50 is proposed to be used to fund a structured annuity for R.B., with
25   the proceeds to be distributed over time – first to Petitioner Blanca Chevez on R.B.’s
26   behalf until R.B. is of age and thereafter to R.B. directly, as is set forth in Exhibit E
27   hereto. The difference is proposed to be distributed to her attorneys, Law Offices of
28   Dale K. Galipo and Law Offices of Luis A. Carrillo pursuant to the contingency

                                                   - 21 -
                                     PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 22 of 24 Page ID #:261




 1   retainer agreement between plaintiffs and their attorneys, which provides for a 40
 2   percent contingency, Section 1988 fees and reimbursement for litigation costs.
 3   13.   Petitioners and Plaintiffs are represented by the Law Offices of Dale K. Galipo,
 4   located at 21800 Burbank Boulevard, Suite 310, Woodland Hills, California, and Law
 5   Offices of Luis A. Carrillo, located at 1499 Huntington Drive Suite 402, South
 6
     Pasadena, CA 91030. This ex parte petition for order approving compromise of
 7
     minor’s claims was prepared by Melanie T. Partow of my office at my direction and
 8
     under my supervision.
 9
     14.   The Law Offices of Dale K. Galipo and the Law Offices of Luis A Carrillo did
10
     not become concerned with this matter at the instance of any party against whom the
11
     claims are asserted or of any party’s insurance carrier.
12
     15.   The Law Offices of Dale K. Galipo and the Law Offices of Luis A. Carrillo are
13
     not employed by any other party or any insurance carrier involved in the matter.
14
     16.   The Law Offices of Dale K. Galipo and the Law Offices of Luis A. Carrillo have
15
     not received any compensation for their services in connection with the minor
16
     plaintiffs’ claims from any person.
17

18
     17.   The Law Offices of Dale K. Galipo and the Law Offices of Luis A. Carrillo do

19
     not expect to receive additional compensation for their services in connection with the

20   minor plaintiffs’ claims.
21   18.   The Law Offices of Dale K. Galipo and the Law Offices of Luis A. Carrillo
22   accepted this engagement for a contingency fee, plus reimbursement for any costs
23   advanced and any monies advanced. The retainer agreement provides for a 40 percent
24   attorney fee recovery if the matter concludes after commencement a lawsuit. The
25   retainer agreement also provides that the 40 percent retainer is in addition to any
26   attorneys’ fees awarded under Section 1988.
27   19.   This police shooting-death case involved a substantial amount of risk. Moreover,
28   in §1988 attorney fees motions filed by my office, Courts in this district have

                                                  - 22 -
                                    PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 23 of 24 Page ID #:262




 1   repeatedly approved my lodestar at $950/hour. Multiple attorneys worked a large
 2   number of hours on this case, including Mr. Luis Carrillo, who has decades of
 3   experience litigating civil rights police shooting cases, and Melanie Partow, an
 4   associate in my office who has over ten years of experience litigating civil rights police
 5   shooting cases. The contingency fee did not increase because plaintiffs are represented
 6
     by multiple counsel or because plaintiffs are represented by two law firms. The two
 7
     law firms will share the single contingency rate set forth in the retainer agreement. If
 8
     Plaintiffs had prevailed at trial and a likely appeal, statutory attorneys’ fees due to Law
 9
     Offices of Dale K. Galipo and the Law Offices of Luis A. Carrillo under the retainer
10
     agreements likely would exceed $1,500,000.00. If Law Offices of Dale K. Galipo and
11
     the Law Offices of Luis A. Carrillo were not awarded a fully compensatory fee in such
12
     cases, it would not be able to take them. Id. In turn, minor plaintiffs such as A.N., J.N.,
13
     A.N., R.B., and A.B. would not be able to attract competent counsel who could achieve
14
     similar results.
15
     20.      Attached hereto as “Exhibit F” is a sample annuity policy for the court’s review.
16
     21.      Attached hereto as “Exhibit G” is a ratings sheet for Pacific Life Insurance
17

18
     Company and Pacific Life & Annuity Company.

19
     22.      Attached hereto as “Exhibit H”, is a sample statement of Irrevocable Guarantee

20   for the annuities through Pacific Life.
21   23.      Attached hereto as “Exhibit I”, is a true and correct copy of the CPT Master
22   Trust.
23   24.      Attached hereto as “Exhibit J”, is a sample of the CPT Trust Set Up Documents.
24

25   ///
26   ///
27   ///
28


                                                    - 23 -
                                      PETITION FOR MINORS’ COMPROMISE
Case 2:15-cv-09515-SVW-JC Document 46 Filed 04/18/17 Page 24 of 24 Page ID #:263




 1         I declare under penalty of perjury of the laws of the United States of America
 2   that the foregoing is true and correct, and that this declaration was executed this 17th
 3   day of April, 2017 at Woodland Hills, California.
 4

 5                            _______/s/ Dale K. Galipo_________
 6                                       Dale K. Galipo
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                  - 24 -
                                    PETITION FOR MINORS’ COMPROMISE
